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        EXHIBIT 3
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                                                   28769-00003_Kite



    Larson, Marina (Vol. 01) - 07/20/2018                                        1 CLIP (RUNNING 00:04:44.963)


        Q: Are you a person of skill in the art with ...

         LARSON                            10 SEGMENTS (RUNNING 00:04:44.963)

         1. PAGE 15:18 TO 15:24 (RUNNING 00:00:16.773)
                   18    Q:   Are you a person of skill in the art with
                   19     respect to the subject matter of the '190 patent
                   20     that's the subject of this litigation?
                   21    A:   No.
                   22    Q:   Would you have ever considered yourself a
                   23     person of skill in that art?
                   24    A:   No.
         2. PAGE 214:02 TO 214:06 (RUNNING 00:00:20.019)
                   02    Q:   Okay. Now, I think you also said that the
                   03     purpose of this series of submissions after the RCE
                   04     was primarily -- at least at the outset, to correct
                   05     SEQ ID 6, and then it subsequently was to comply
                   06     with PTO requirements; correct?
         3. PAGE 214:09 TO 214:21 (RUNNING 00:00:42.851)
                   09    A:   The initial submission of the sequence
                   10     listing that included -- accompanied the RCE was
                   11     necessary because to amend the sequence listing, you
                   12     have to submit a whole new copy. There is no way --
                   13     because it's not really part of the specification,
                   14     to just do it by underlining and showing the text.
                   15     You have to submit a whole new copy.
                   16    BY MR. GRATZINGER:
                   17    Q:   Okay.
                   18    A:   But we submitted a copy of the portion of
                   19     Sequence ID 6 with the -- with the portions that
                   20     were deleted, clearly indicated for the examiner, so
                   21     she didn't have any trouble comparing them.
         4. PAGE 216:23 TO 217:04 (RUNNING 00:00:19.521)
                 23      Q:   But there was, in fact, one really
                 24       critical change in the sequence listing; right? And
                 25       that was the change at the beginning of SEQ ID 6?
           00217:01      A:   There wasn't a change. We submitted the
                 02       wrong sequence listing. It was a clerical error;
                 03       the wrong file was submitted to the sequence. No
                 04       intentional change was made.
         5. PAGE 218:06 TO 219:15 (RUNNING 00:01:37.231)
                   06    Q:   Okay. Dr. Larson, I want to focus my line
                   07     of questioning on whether or not you reviewed the
                   08     sequence listing on April 16, 2008. Okay?
                   09     And one thing you told me, it was
                   10     "apparently not."
                   11     Can you explain what you mean by that?
                   12    A:   Because when I look at it now, it is the
                   13     old sequence listing.
                   14    Q:   Okay.
                   15    A:   It is the one with those four bases of the
                   16     front, back end.
                   17    Q:   And that tells you that you didn't review
                   18     it?


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                 19      A:   If I did review it, I did not catch that.
                 20      Q:   Okay. And, in fact --
                 21      A:   I don't have a memory of whether or not I
                 22       reviewed it. A sequence listing is not exciting
                 23       reading.
                 24      Q:   Isn't it true that if you did review it,
                 25       the one thing you'd want to check is to make sure
           00219:01       that those, in fact, four nucleotides at the
                 02       beginning of SEQ ID 6 were deleted?
                 03      A:   As I said, I don't remember what was going
                 04       on at the time. I know that when I filed the
                 05       prosecution -- the request for certificate of
                 06       correction, when it was pointed out to me that we
                 07       had put the wrong sequence listing in on the last
                 08       go-around, I was frustrated then, and I must have
                 09       been frustrated at the time, because they had the
                 10       information, and they kept asking for it over and
                 11       over and over again. And that led to us making an
                 12       error. Pure and simple. And that is fully
                 13       explained in the request for certificate of
                 14       correction, which were granted by the patent office.
                 15       This was a simple mistake.
         6. PAGE 222:17 TO 222:20 (RUNNING 00:00:23.614)
                   17    Q:   Okay. Did you, in this particular case,
                   18     review the patent carefully to make sure that it was
                   19     all correct prior to paying the issue fee?
                   20    A:   I don't recall.
         7. PAGE 224:20 TO 225:13 (RUNNING 00:00:39.850)
                 20      Q:   So just focusing on your practice of
                 21       reviewing the claims after issuance, reviewing the
                 22       sequence listings that are called out in the claims
                 23       is not part of that review?
                 24      A:   I wouldn't think so.
                 25      Q:   That's something that is done by your
           00225:01       staff?
                 02      A:   Yes.
                 03      Q:   And do you instruct your staff one way or
                 04       the other?
                 05      A:   Yes. I ask them to look at the document
                 06       of the printed claims and compare it to the last
                 07       submitted set.
                 08      Q:   Sorry. I should have asked a more
                 09       specific question.
                 10       Do you instruct your staff one way or the
                 11       other with respect to sequences that are called out
                 12       in the claims?
                 13      A:   No.
         8. PAGE 227:06 TO 227:11 (RUNNING 00:00:18.569)
                   06    Q:   So between your review and your staff's
                   07     review and anyone who may have reviewed it at
                   08     Sloan Kettering, nobody raised an issue with the
                   09     issued patent in 2008; is that right?
                   10    A:   As -- I don't recall anyone raising an
                   11     issue.
         9. PAGE 228:02 TO 228:03 (RUNNING 00:00:04.716)
                   02    Q:   Do you have any understanding of why this
                   03     came to people's attention in 2013?
         10. PAGE 228:07 TO 228:07 (RUNNING 00:00:01.819)
                   07    A:    No idea whatsoever.
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                                            TOTAL: 1 CLIP FROM 1 DEPOSITION (RUNNING 00:04:44.963)




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